      Case 16-34616-JKS           Doc 5     Filed 01/11/17 Entered 01/11/17 09:49:03                 Desc
                                                  Page 1 of 1
                                                                                                              BL9180946


                             IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NEW JERSEY, NEWARK DIVISION
IN RE:                                           :        Chapter: 7
CHRISTINE CRANDON                                :
VINCENT J. CRANDON                               :
                                                 :
                                                 :        BANKRUPTCY NO: 16-34616-JKS




                  REQUEST OF CREDITOR PURSUANT TO BANKRUPTCY RULE 2002(g)
                               PROVIDING ADDRESS FOR SERVICE
                                        OF NOTICES

To the Clerk:

 1. This request is filed pursuant to Bankruptcy Rule 2002(g) for the purpose of ensuring that the creditor

listed below receives all notices required to be mailed under Bankruptcy Rule 2002 at the address below.

 2. The address to which all such notices should be sent and substituted for that of the creditor:


                                         Toyota Motor Credit Corporation
                                         c/o Becket & Lee LLP
                                         PO Box 3001
                                         Malvern, PA 19355-0701




                                             By: /s/ Lynn Brown
                                                 Lynn Brown, Claims Administrator
                                                 Becket & Lee LLP
                                                 POB 3001
                                                 Malvern, PA 19355-0701



                                                 Date:    01/11/2017
